                Case 4:22-cv-05183-KAW Document 61 Filed 02/21/24 Page 1 of 5




 1    Julianna Rivera Maul (SBN 290955)                   ISMAIL J. RAMSEY (CABN 189820)
      The Law Office of Julianna Rivera                   United States Attorney
 2
      420 3rd St., Ste 200
 3    Oakland, CA 94067                                   MICHELLE LO (NYRN 4325163)
      Tel: 510-473-2141                                   Chief, Civil Division
 4
      Matt Adams*                                         KENNETH W. BRAKEBILL (CABN 196696)
 5    Aaron Korthuis*                                     Assistant United States Attorney
      Glenda M. Aldana Madrid*
 6    Leila Kang*                                         KELSEY J. HELLAND (CABN 298888)
      Northwest Immigrant Rights Project                  Assistant United States Attorney
 7
      615 2nd Ave, Ste 400                                450 Golden Gate Avenue, Box 36055
 8    Seattle, WA 98104                                   San Francisco, California 94102-3495
      Tel: 206-957-8611                                   Telephone: (415) 436-7167
 9    *Admitted pro hac vice                              Facsimile: (415) 436-7169
                                                          Kenneth.Brakebill@usdoj.gov
10    Attorneys for Plaintiffs
                                                          Attorneys for the United States of America
11

12

13                                    UNITED STATES DISTRICT COURT

14                                  NORTHERN DISTRICT OF CALIFORNIA

15                                            OAKLAND DIVISION

16
     J.R.G., et al.,                                  )     CASE NO. 4:22-cv-05183-KAW
17                                                    )
                                                      )     STIPULATION FOR CONTINUANCE
              Plaintiffs,                             )     OF CASE MANAGEMENT
18
                                                      )     CONFERENCE AND ORDER
         v.                                           )
19
                                                      )
     UNITED STATES OF AMERICA,                        )
20
          Defendant.                                  )
21                                                    )

22            Plaintiffs J.R.G. and M.A.R. and Defendant United States of America (collectively, the
23 “Parties”), by and through their respective counsel, hereby stipulate and agree, pursuant to Civil Local

24 Rule 7-12 and subject to the Court’s approval, as follows:

25            WHEREAS, November 9, 2023, the Court granted the Parties’ stipulation for a continuance of
26   the scheduled Case Management Conference, resetting it for February 27, 2024, at 1:30pm, Dkt. 59;
27   STIPULATION FOR CONTINUANCE OF CMC AND ORDER
     CASE NO. 4:22-CV-05183-KAW
28                                              1
              Case 4:22-cv-05183-KAW Document 61 Filed 02/21/24 Page 2 of 5




 1          WHEREAS, since the May 17, 2023 Case Management Conference, the Parties have produced

 2 hundreds of thousands of pages of discovery as contemplated by their agreed-upon 90-Day Disclosure

 3 period (see Dkt. 48), and the Parties are currently reviewing those productions;

 4          WHEREAS, while the first sets of discovery were recently propounded in this matter, the Parties

 5 agreed to toll any responses as they engage in efforts to resolve this matter without judicial intervention;

 6          WHEREAS, the Parties have no other substantive updates or issues requiring the Court’s

 7 attention at this time;

 8          WHEREAS, the Parties have met and conferred and are engaged in settlement discussions that

 9 could potentially lead to the resolution of Plaintiffs’ claims;

10          NOW THEREFORE, respectfully suggest that the February 27, 2024 Case Management

11 Conference be deferred for another 90 days, to a date on or after May 27, 2024.

12          DATED February 20, 2024.

13          Respectfully submitted,

14
        LAW OFFICE OF JULIANNA RIVERA                          ISMAIL J. RAMSEY
15                                                             United States Attorney
16       /s/ Julianna Rivera
        Julianna Rivera Maul                                    /s/ Kenneth W. Brakebill
17                                                             Kenneth W. Brakebill
        NORTHWEST IMMIGRANT RIGHTS                             Kelsey J. Helland
18      PROJECT                                                Assistant United States Attorneys
19        /s/ Matt Adams
20      Matt Adams
        /s/ Leila Kang
21      Leila Kang

22      Aaron Korthuis
        Glenda M. Aldana Madrid
23

24      Counsel for Plaintiffs                                 Counsel for Defendant

25

26

27   STIPULATION FOR CONTINUANCE OF CMC AND ORDER
     CASE NO. 4:22-CV-05183-KAW
28                                              2
             Case 4:22-cv-05183-KAW Document 61 Filed 02/21/24 Page 3 of 5




 1                                                ORDER

 2          Pursuant to Stipulation, and good cause appearing, IT IS SO ORDERED that the Case

 3   Management Conference currently scheduled for February 27, 2024, is continued to

 4        6/11/2024 at 1:30pm
     ______________________________________________. A Case Management Statement shall be filed

 5   7 days prior to the Case Management Conference.

 6

 7   Dated: February 21, 2024
                                                       _____________________________________
 8                                                     HONORABLE KANDIS A. WESTMORE
 9                                                     United States Magistrate Judge

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
      ORDER
28   CASE NO. 4:22-CV-05183-KAW                    3
                   Case 4:22-cv-05183-KAW Document 61 Filed 02/21/24 Page 4 of 5




 1    Julianna Rivera Maul (SBN 290955)                      ISMAIL J. RAMSEY (CABN 189820)
      The Law Office of Julianna Rivera                      United States Attorney
 2    420 3rd St., Ste 200
      Oakland, CA 94067
 3                                                           MICHELLE LO (NYRN 4325163)
      Tel: 510-473-2141                                      Chief, Civil Division
 4
      Matt Adams*                                            KENNETH W. BRAKEBILL (CABN 196696)
 5    Aaron Korthuis*                                        Assistant United States Attorney
      Glenda M. Aldana Madrid*
 6    Leila Kang*                                            KELSEY J. HELLAND (CABN 298888)
      Northwest Immigrant Rights Project                     Assistant United States Attorney
 7
      615 2nd Ave, Ste 400                                   450 Golden Gate Avenue, Box 36055
 8    Seattle, WA 98104                                      San Francisco, California 94102-3495
      Tel: 206-957-8611                                      Telephone: (415) 436-7167
 9    *Admitted pro hac vice                                 Facsimile: (415) 436-7169
                                                             Kenneth.Brakebill@usdoj.gov
10    Attorneys for Plaintiffs
                                                             Attorneys for the United States of America
11

12

13                                       UNITED STATES DISTRICT COURT

14                                    NORTHERN DISTRICT OF CALIFORNIA

15                                               OAKLAND DIVISION

16
     J.R.G., et al.,                                     )       CASE NO. 4:22-cv-05183-KAW
17                                                       )
              Plaintiffs,                                )       DECLARATION OF LEILA KANG IN
18                                                       )       SUPPORT OF STIPULATION FOR
         v.                                              )       CONTINUANCE OF CASE MANAGEMENT
19                                                       )       CONFERENCE AND ORDER
     UNITED STATES OF AMERICA,                           )
20                                                       )
              Defendant.                                 )
21                                                       )

22

23   I, Leila Kang, declare and state as follows:

24            1.       I am a staff attorney at the Northwest Immigrant Rights Project and counsel of record for

25 Plaintiffs in the above-captioned action.

26            2.       I submit this declaration pursuant to Civil Local Rule 6-2(a) in support of the Parties’

27 Stipulation for Continuance of Case Management Conference and [Proposed] Order.

28   DECLARATION OF LEILA KANG ISO STIP.
     FOR CONTINUANCE OF CMC; ORDER
     CASE NO. 4:22-CV-05183-KAW
                                                             1
                 Case 4:22-cv-05183-KAW Document 61 Filed 02/21/24 Page 5 of 5




 1          3.         Counsel for Plaintiffs and Defendant have conferred. The parties request a continuance of

 2 the Case Management Conference currently scheduled for February 27, 2024, for the following reasons:

 3                a. Since the May 16, 2023, Case Management Conference, the parties have produced

 4                     hundreds of thousands of pages of discovery as contemplated by their agreed-upon 90-

 5                     Day Disclosure Period (see Dkt. 48 at 4–5), and the parties are currently diligently

 6                     reviewing those productions;

 7                b. Plaintiffs recently propounded and served the first set of discovery requests in this matter,

 8                     but the Parties have agreed to toll any responses as they engage in settlement efforts;

 9                c. The Parties have met and conferred and are engaged in settlement discussions that could

10                     potentially lead to the resolution of Plaintiffs’ claims; and

11                d.   The Parties have no other substantive updates or issues requiring the Court’s attention at

12                     this time.

13          4.         There have been five prior time modifications in this litigation.

14          5.         The first two concerned stipulations setting, and subsequently modifying, a briefing

15 schedule for Defendant’s motion to dismiss and continuing the initial case management deadlines to

16 conform with resolution of that motion. See Dkts. 14, 18, 26, & 31.

17          6.         The third concerned a clerk’s notice notifying the parties that the initial Case

18 Management Conference would be continued by a week. See Dkt. 40.

19          7.         The fourth concerned a stipulation requesting that the second Case Management

20 Conference, which had been scheduled for September 26, 2023, be rescheduled. See Dkt. 55 & 57.

21          8.         The fifth concerned a stipulation requesting that the rescheduled second Case

22 Management Conference be further continued to a date on or after February 14, 2024. See Dkt. 58 & 59.

23          9.         The continuance of the Case Management Conference to a date on or after May 27, 2024,

24 would not result in any additional changes to the case schedule.

25          I declare under penalty of perjury that the foregoing is true and correct.

26   Dated: February 20, 2024.                                s/Leila Kang
                                                              Leila Kang
27                                                            Northwest Immigrant Rights Project

28   DECLARATION OF LEILA KANG ISO STIP.
     FOR CONTINUANCE OF CMC; ORDER
     CASE NO. 4:22-CV-05183-KAW
                                                              2
